      Case 3:05-cr-00309-GAG   Document 363    Filed 08/13/09   Page 1 of 10



1                          UNITED STATES DISTRICT COURT
2                             DISTRICT OF PUERTO RICO

3    ALCIDES RODRÍGUEZ-DURÁN,

4         Petitioner,
                                               Civil No. 08-2297 (JAF)
5         v.                                    (Crim. No. 05-309)

6    UNITED STATES OF AMERICA,

7         Respondent.



8                                OPINION AND ORDER

9         Petitioner, Alcides Rodríguez-Durán, brings this pro-se petition
10   for relief from a federal court conviction pursuant to 28 U.S.C.
11   § 2255.   (Docket No. 1.)    Respondent, the United States of America,
12   opposes (Docket No. 3), and Petitioner replies (Docket No. 5).
13                                        I.

14                        Factual and Procedural History
15        On September 14, 2005, a federal grand jury indicted Petitioner
16   and nine other individuals on charges of (1) conspiracy to possess
17   cocaine with intent to distribute on board a vessel subject to the
18   jurisdiction of the United States; (2) knowingly aiding and abetting
19   each other in possessing cocaine with intent to distribute; and (3) a
20   forfeiture of proceeds derived from the above violations. (Case
21   No. 05-309, Docket No. 23.) These charges stemmed from an inspection
22   by the United States Coast Guard on August 25, 2005, of the Bolivian
23   vessel Sea Atlantic, which Petitioner captained. United States v.
24   Rodríguez-Durán,    507   F.3d   749,    754-57   (1st     Cir.   2007).   While
25   patrolling the South American coast, the Coast Guard received notice
26   that the Sea Atlantic was rendezvousing with a small boat. Id. at
      Case 3:05-cr-00309-GAG       Document 363        Filed 08/13/09    Page 2 of 10



     Civil No. 08-2297 (JAF)                                                                   -2-


1    754. This suspicious action prompted the Coast Guard to approach the
2    vessel   and,    after    receiving      the      necessary        permission      from   the
3    Bolivian government, inspect it. They found a large quantity of
4    cocaine in a secret compartment in one of the berthing rooms. Id. at
5    755. On October 24, 2005, Petitioner was found guilty of all three
6    counts   after    a   five-day       jury   trial.      (Case      No.   05-309,      Docket
7    No. 133.)
8         We held a sentencing hearing on January 30, 2006. (Case No. 05-
9    309, Docket No. 202.) We sentenced Petitioner to 292 months in
10   prison, five years of supervised release, and a special monetary
11   assessment of two hundred dollars. (Case No. 05-309, Docket No. 203.)
12   Petitioner appealed and, on November 21, 2007, the First Circuit
13   affirmed his sentence. Rodríguez-Durán, 507 F.3d 749.
14        Petitioner       moved    for   §   2255      relief    on     November    13,   2008.
15   (Docket No. 1.) Respondent opposed on January 16, 2009 (Docket
16   No. 3), and Petitioner replied on February 17, 2009 (Docket No. 5).
17                                               II.

18                   Standard for Relief Under 28 U.S.C. § 2255
19        A federal district court has jurisdiction to entertain a § 2255
20   petition when the petitioner is in custody under the sentence of a
21   federal court. See 28 U.S.C. § 2255. A federal prisoner may challenge
22   his or her sentence on the grounds that, inter alia, it “was imposed
23   in violation of the Constitution or laws of the United States
24   . . . .” Id. The petitioner is entitled to an evidentiary hearing
25   unless the “allegations, accepted as true, would not entitle the
26   petitioner to relief, or . . . ‘are contradicted by the record,
27   inherently incredible, or conclusions rather than statements of
      Case 3:05-cr-00309-GAG   Document 363     Filed 08/13/09     Page 3 of 10



     Civil No. 08-2297 (JAF)                                                        -3-


1    fact.’” United States v. Rodríguez Rodríguez, 929 F.2d 747, 749-50
2    (1st Cir. 1991) (quoting Dziurgot v. Luther, 897 F.2d 1222, 1225 (1st
3    Cir. 1990)); see 28 U.S.C. § 2255(b).
4                                        III.

5                                     Analysis
6         Because Petitioner is pro se, we construe his pleadings more
7    favorably than we would those drafted by an attorney. See Erickson v.
8    Pardus, 551 U.S. 89, 94 (2007). However, Petitioner’s pro-se status
9    does not excuse him from complying with procedural and substantive
10   law. Ahmed v. Rosenblatt, 118 F.3d 886, 890 (1st Cir. 1997).
11        Petitioner    asserts   that   his     sentence        was   unconstitutional
12   because (1) the vessel he was sailing was not subject to United
13   States jurisdiction and he is consequently actually and factually
14   innocent of committing a federal drug offense; (2) the jurisdictional
15   section of the statute under which he was convicted, the Maritime
16   Drug Law Enforcement Act (“MDLEA”), 46 U.S.C. § 70504(a),1 is invalid
17   because Congress lacks the power to remove all jurisdictional issues
18   from the jury; and (3) his attorney was ineffective. (Docket No. 1.)
19   A.   Lack of Jurisdiction
20        Petitioner claims that the vessel was not subject to United
21   States jurisdiction and that Respondent failed to establish subject-
22   matter jurisdiction. (Docket No. 1.) He further asserts that he is
23   actually and factually innocent of committing a federal drug offense.


          1
           Congress amended the MDLEA in 1996 and made jurisdiction over vessels
     a preliminary question of law. United States v. Vilches-Navarrete, 523 F.3d
     1, 9 n.5 (1st Cir. 2008). In the record, parties refer to 46 U.S.C.
     § 1903(f). This statute was in all material respects recodified in October
     2006 at 46 U.S.C. § 70504.
      Case 3:05-cr-00309-GAG    Document 363   Filed 08/13/09   Page 4 of 10



     Civil No. 08-2297 (JAF)                                                    -4-


1    (Id.) Respondent counters, inter alia, that the issue was already
2    raised on appeal by a co-defendant and that Petitioner failed to make
3    a showing of actual innocence. (Docket No. 3.)
4         The decision of legal issues by an appellate court establishes
5    the “law of the case” in a subsequent appeal by a co-defendant.
6    United States v. Paquette, 201 F.3d 40, 42-43 (1st Cir. 2000) (citing
7    United States v. Rosen, 929 F.2d 839, 842 n.5 (1st Cir. 1991); United
8    States v. Aramony, 166 F.3d 655, 661 (4th Cir. 1999)). This is true
9    “unless   the   evidence    on   a   subsequent   trial    was   substantially
10   different, controlling authority has since made a contrary decision
11   of the law applicable to such issues, or the decision was clearly
12   erroneous and would work a manifest injustice.” Rosen, 929 F.2d at
13   842 n.5 (citing White v. Murtha, 377 F.2d 428, 431-32 (5th Cir.
14   1967)). Accordingly, issues in a 28 U.S.C. § 2255 motion that have
15   been resolved by a prior appeal will not be reviewed again. Murchu v.
16   United States, 926 F.2d 50, 55 (1st Cir. 1991) (quoting Dirring v.
17   United States, 370 F.2d 862, 864 (1st Cir. 1967)).
18        In Petitioner’s consolidated direct appeal, co-defendant Ronald
19   José Morelis-Escalona argued that his conviction was flawed because
20   the government failed to prove that the vessel was subject to United
21   States jurisdiction. Rodríguez-Durán, 507 F.3d at 761-62. The First
22   Circuit found that the flag nation’s consent to jurisdiction was
23   sufficient and that the MDLEA does not require as a jurisdictional
24   prerequisite that the defendant’s actions have affected the United
25   States. Id. (citing United States v. Bravo, 489 F.3d 1, 7 (1st Cir.
26   2007); United States v. Cardales, 168 F.3d 548, 553 (1st Cir. 1999)).
27   It also held that the Coast Guard had properly obtained consent from
      Case 3:05-cr-00309-GAG   Document 363   Filed 08/13/09   Page 5 of 10



     Civil No. 08-2297 (JAF)                                                    -5-


1    the Bolivian government to board and search the vessel and that the
2    evidence was sufficient to dismiss Morelis’ jurisdictional challenge.
3    Id. at 757 n.9, 762.
4         Petitioner was a party to Morelis’ appeal and his claims are
5    based on the same evidence. See id. at 749. There have been no
6    relevant changes in the law since the appeal and the decision in
7    Rodríguez-Durán does not seem erroneous or unjust. Therefore, we
8    dismiss Petitioner’s jurisdictional claim. See Rosen, 929 F.2d at 842
9    n.5. As Petitioner’s allegation that he was actually and factually
10   innocent was premised on lack of jurisdiction (Docket No. 1), we
11   likewise dismiss this claim.
12   B.   Removal of Jurisdictional Issue From the Jury
13        Petitioner claims that 46 U.S.C. § 70504(a) is invalid because
14   Congress does not have the power to remove all jurisdictional issues
15   from the jury and that he was consequently denied his rights under

16   the Sixth Amendment. (Docket No. 1.) Respondent argues that the
17   jurisdictional determination is not an element of the offense under
18   the statute. (Docket No. 3.)
19        Under   the   MDLEA,    jurisdictional      issues    are    “preliminary
20   questions of law to be determined solely by the trial judge.” 46
21   U.S.C. § 70504(a). The jurisdictional issue is not an element of the
22   offense. See Vilches-Navarrete, 523 F.3d at 12 (citing United States
23   v. Guerrero, 114 F.3d 332, 340 n.9 (1st Cir. 1997)). The First
24   Circuit has suggested that giving judges the power to determine
25   jurisdictional issues is constitutional. See id. at 19-23 (Lynch, J.
26   and Howard, J., concurring); accord United States v. Tinoco, 304 F.3d
27   1088, 1111-12 (11th Cir. 2002). But see, e.g., United States v.
      Case 3:05-cr-00309-GAG      Document 363   Filed 08/13/09   Page 6 of 10



     Civil No. 08-2297 (JAF)                                                           -6-


1    Perlaza, 439 F.3d 1149, 1167 (9th Cir. 2006). Therefore, we dismiss
2    Petitioner’s claim that 46 U.S.C. § 70504(a) is unconstitutional.
3    C.   Ineffective Assistance of Counsel
4         Petitioner asserts that his trial attorney was ineffective
5    because he failed to (1) conduct pretrial and trial investigation,
6    interview the government’s witnesses prior to trial, or file more
7    than five motions; (2) bring on appeal the issues Petitioner now
8    raises regarding the lack of jurisdiction and the unconstitutionality
9    of 46 U.S.C. § 70504(a); and (3) file a motion to suppress the drugs
10   seized. (Docket No. 1.) Respondent counters that Petitioner failed to
11   establish     prejudice   and    his    claims   are   without      merit     because
12   Petitioner did not support his allegations and counsel has wide
13   latitude to make decisions regarding a case. (Docket No. 3.)
14        To establish ineffective assistance of counsel, a petitioner
15   must show both that his counsel’s performance was deficient and that
16   he suffered prejudice as a result of the deficiency. Strickland v.
17   Washington,     466   U.S.     668,    686-96    (1984).     To    show     deficient
18   performance, a petitioner must “establish that counsel was not acting
19   within the broad norms of professional competence.” Owens v. United
20   States, 483 F.3d 48, 57 (1st Cir. 2007) (citing Strickland, 466 U.S.
21   at 687-91). To show prejudice, a petitioner must demonstrate that
22   “there   is    a   reasonable     probability     that,      but    for     counsel’s
23   unprofessional error, the result of the proceedings would have been
24   different.” Strickland, 466 U.S. at 694. However, a presumption of
25   prejudice is appropriate when “counsel was either totally absent or
26   prevented from assisting the accused during a critical stage of the
27   proceeding” or when counsel failed to test the prosecutor’s case.
      Case 3:05-cr-00309-GAG        Document 363    Filed 08/13/09   Page 7 of 10



     Civil No. 08-2297 (JAF)                                                           -7-


1    United States v. Cronic, 466 U.S. 648, 659 & n.25 (1984); see also
2    Bell v. Cone, 535 U.S. 685, 697 (2002) (finding that for a court to
3    “presum[e] prejudice based on an attorney’s failure to test the
4    prosecutor’s case, . . . the attorney’s failure must be complete”).
5    Counsel’s     failure     is     deemed   incomplete       if   he   cross-examined
6    witnesses, put on a defense, made objections, and presented a closing
7    argument. See United States v. Theodore, 468 F.3d 52, 57 (1st Cir.
8    2006) (citation omitted); Millender v. Adams, 376 F.3d 520, 524 (6th
9    Cir. 2004).
10        An attorney has a duty to conduct a reasonable investigation in
11   order to advise and represent his client. See Strickland, 466 U.S. at
12   691. In assessing the reasonableness of the investigation, a court
13   has to consider the amount of evidence already known to the attorney
14   and whether a reasonable attorney would investigate further. Wiggins
15   v. Smith, 539 U.S. 510, 527 (2003). A court must apply a “heavy
16   measure”     of   deference         to    counsel’s      judgments      during   the
17   investigation.    Strickland, 466 U.S. at 690-91. To find ineffective
18   assistance of counsel based on the failure to investigate, petitioner
19   must generally show that his conviction would have been nearly
20   impossible    based     on   the    evidence    the   investigation      would   have
21   produced. Reyes-Vejerano v. United States, 117 F. Supp.2d 103, 107
22   (D.P.R. 2000) (citing Passos-Paternina v. United States, 12 F.
23   Supp.2d 231, 236 n.4 (D.P.R. 1998)). He must “allege with specificity
24   what the investigation would have revealed and how it would have
25   altered the outcome of the trial.” United States v. Green, 882 F.2d
26   999, 1003 (5th Cir. 1989).
      Case 3:05-cr-00309-GAG     Document 363   Filed 08/13/09     Page 8 of 10



     Civil No. 08-2297 (JAF)                                                            -8-


1           Counsel may select from among non-frivolous claims to increase
2    the likelihood of success on appeal. Smith v. Robbins, 528 U.S. 259,
3    288    (2000).   However,   counsel   is   under    no      obligation       to   raise
4    meritless claims and the failure to do so does not imply ineffective
5    assistance of counsel. Acha v. United States, 910 F.2d 28, 32 (1st
6    Cir. 1990) (citing McMann v. Richardson, 397 U.S. 759 (1970)).
7    Issues raised on appeal in a perfunctory manner, that are not
8    accompanied by developed argumentation, are deemed waived. United
9    States v. Rosario-Peralta, 199 F.3d 552, 563 n.4 (1st Cir. 1999)
10   (citing United States v. Bongiorno, 106 F.3d 1027, 1034 (1st Cir.
11   1997)).
12          To begin with, Petitioner contends that we should apply the
13   Cronic standard and presume prejudice. (Docket Nos. 1, 5.) However,
14   counsel’s alleged failure is far from complete. See Cronic, 466 U.S.
15   at 659 & n.25; Bell, 535 U.S. at 696-97. Petitioner’s attorney made
16   several motions and objections during the trial (Case No. 05-309,
17   Docket Nos. 125, 126), put on a duress defense, delivered a closing
18   statement, and directly examined Petitioner during trial, Rodríguez-
19   Durán, 507 F.3d at 756-58. See Theodore, 468 F.3d at 57; Millender,
20   376 F.3d at 524. Petitioner has failed to allege facts showing that
21   counsel was totally absent or was otherwise prevented from assisting
22   him during the proceedings. See Cronic, 466 U.S. at 659 & n.25.
23   Therefore, we do not presume prejudice. See Strickland, 466 U.S. at
24   687.
25          Petitioner asserts that his trial attorney was ineffective
26   because he failed to conduct pretrial and trial investigation,
27   interview the government’s witnesses prior to trial, or file more
      Case 3:05-cr-00309-GAG   Document 363   Filed 08/13/09   Page 9 of 10



     Civil No. 08-2297 (JAF)                                                  -9-


1    than five motions. (Docket No. 1.) However, Petitioner fails to
2    further develop his arguments. See Rosario-Peralta, 199 F.3d at 563
3    n.4. He has not identified exculpatory evidence or potential defense
4    witnesses that counsel could have interviewed had he investigated the
5    case more thoroughly. See Green, 882 F.2d at 1003. Thus, these
6    assertions fail to satisfy the Strickland prejudice prong. See
7    Strickland, 466 U.S. at 694; Reyes-Vejerano, 117 F.Supp.2d at 107;
8    Green, 882 F.2d at 1003.
9         Also, Petitioner contends that counsel was ineffective because
10   he failed to file a motion to suppress the drugs seized and did not
11   bring on appeal the claims Petitioner now raises regarding the United
12   States’ alleged lack of jurisdiction and the unconstitutionality of
13   46 U.S.C. § 70504(a). (Docket No. 1.) According to Petitioner, the
14   Coast Guard needed a warrant to search the hidden compartment that
15   contained the drugs and was not justified in expanding the scope of
16   the safety inspection. (Id.) However, a motion to suppress the drugs
17   seized would have been without merit. See Bravo, 489 F.3d at 8-9
18   (citing United States v. Verdugo-Urquidez, 494 U.S. 259, 267 (1990))
19   (noting that the Fourth Amendment’s prohibition against unreasonable
20   searches and seizures “does not apply to activities of the United
21   States against aliens in international waters”). Likewise, claims
22   regarding the United States’ lack of jurisdiction and the invalidity
23   of 46 U.S.C. § 70504(a) are without merit. See supra Part III.A-B.
24   He was consequently under no obligation to raise these meritless
25   claims. See Acha, 910 F.2d at 32 (citing McMann, 397 U.S. 759)).
     Case 3:05-cr-00309-GAG   Document 363     Filed 08/13/09   Page 10 of 10



     Civil No. 08-2297 (JAF)                                                    -10-


1         Because we dismiss all of Petitioner’s claims, we likewise deny
2    his request for a hearing. See Rodríguez Rodríguez, 929 F.2d at 749-
3    50 (quoting Dziurgot, 897 F.2d at 1225); 28 U.S.C. § 2255(b).
4                                        IV.

5                                    Conclusion

6         For the foregoing reasons, we DENY Petitioner’s § 2255 motion.
7    Pursuant to Rule 4(b) of the Rules Governing § 2255 Proceedings,
8    summary dismissal is in order because it plainly appears from the
9    record that Petitioner is not entitled to § 2255 relief in this
10   court.
11        IT IS SO ORDERED.
12        San Juan, Puerto Rico, this 13th day of August, 2009.
13                                           S/José Antonio Fusté
14                                           JOSE ANTONIO FUSTE
15                                           Chief U.S. District Judge
